      Case 22-12287-JKS       Doc 74    Filed 09/13/24 Entered 09/13/24 09:40:52               Desc Main
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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
Marie-Ann Greenberg, MAG-1284                                         Order Filed on September 13, 2024
Marie-Ann Greenberg, Standing Trustee
                                                                      by Clerk
30 TWO BRIDGES ROAD                                                   U.S. Bankruptcy Court
SUITE 330                                                             District of New Jersey
FAIRFIELD, NJ 07004-1550
973-227-2840
Chapter 13 Standing Trustee

 IN RE:
    ADESINA B. OGUNLANA                              Case No.: 22-12287 JKS

                                                     Hearing Date: 9/12/2024



             ORDER PERMITTING DEBTOR TO CURE ARREARAGES TO TRUSTEE

   The relief set forth on the following page, numbered two (2), is hereby ORDERED.




          DATED: September 13,
          2024
       Case 22-12287-JKS          Doc 74     Filed 09/13/24 Entered 09/13/24 09:40:52           Desc Main
                                             Document Page 2 of 2
Debtor(s): ADESINA B. OGUNLANA

Case No.: 22-12287
Caption of Order: ORDER PERMITTING DEBTOR TO CURE ARREARAGES TO TRUSTEE

   THIS MATTER having come before the Court on 09/12/2024 on notice to STEVEN D. PERTUZ,

and to the Debtor(s) herein, and good sufficient cause having been shown, it is:

   ORDERED, that the Debtor(s) must file a modified plan by 9/26/2024 to address the Trustee arrears and

   stay relief or the case will be dismissed; and it is further

   ORDERED, that if the Court's Docket does not reflect that a modified plan to address Trustee arrears and

   stay relief has been filed by the above referenced date, the instant Case shall be Dismissed without further

   Notice to Debtor or Debtor's Attorney.




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